Case 1:09-cr-01016-DLC Document177 Filed 09/25/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNTTED STATES OF AMERICA, : 09Cr1016-04 (DLC)
-V- : ORDER
FELIX SANTIAGO III, : USDC SDNY
Defendant. :
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DOC #: ij
DATE FILED: os Sbo2h
DENISE COTE, District Judge:

 

The Court received the Government’s letter of September 25,

 

2020 requesting an adjournment of the September 30, 2020 hearing
date. The Government also requests that its letter be filed
under seal. It is hereby
ORDERED that the request to adjourn the September 30
hearing is denied.
TT IS FURTHER ORDERED that the September 25 letter shail be
file under seal.

Dated: New York, New York
September 25, 2020

Asses Li

ISE COTE
United st tes District Judge

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